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磁
                    丁he Peregr漢ne                OrpOration

                    SpeciaIists in Defen e Dynamics




   Febma吋2, 2023


   G. Ellis Summers, Jr., Esq.
   Assistant Federal Defender
   O舘ce of the Federal Defender
   蝿ddle District ofFIorida
   2075 West First S億eet, Suite 300
   Fort Myers, FL 33901

                                 Re. United          of America v. Zacharv Johnson


   Dear Attomey Summers:

          I am writing to provide my report in the above‑referenced case.


          PreDaration for Rendering ODinions. In preparation, I have reviewed various materials
   you have provided, including information dn defendant   s proposed voir dire, jury ins調Ctions,
   and the oifenses with which defchdant has been charged; email from the pros∞ution specifying

   the brand, tyPe and size ofpepper spray unit believed to be invoIved in the activities for which
   the defendant is charged; United States CapitoI Police (    USCP   ) Use ofForce directive number
   lO20.004, Effective Date lO/26/2016; OC?pray Orientation PowerPoint from USCP Training
   Servi∞ Bureau; USCP Training Services B山eau In‑Service Training Lesson Plan on OC Spray

   (TSB CouseNumber lll.07); Various USqP doouments, marked asExhibits l, 6, 8, 9, 11, 12
   and 13 (with redactions, USCP documents numbered between USCP‑002‑00000022, CAPD


   韮蓋蓋露盤藷岩盤悪童豊窪討議諾盤霊誌請書器
   豊端豊富霊霊n書架善業霊豊窪慧謹書謹叩
   Special Agent Gerald Ken Westem.

          In addition, I reed or reviewed varidus published articles and studies on the e餓sots,



   慧誓言露語盤諾岩盤蕊謹書器豊露盤素謡。
   below. Many of血ese are articles I have re九d previously in past years.




   咋n龍義認鵠詩誌誓葦豊富豊認諾D S
   m anufacturer.




1636 N. CedarCrest Bivd,, #320. A=entown, PA 18104. peregrine@ptd・net. 610‑360‑7053
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       I spoke with two other manufacturer! of OC, amOng Other things about the strength
ratings of OC brands and types with which串ve persona11y been sprayed.


                                                 training colleagues of mine who, 1ike me, have
       圏圃
       Finally, I spoke with law en

PerSOnal experience in, Or Other reli            ledge about, the pepper spraying of large numbers


禁書霊霊議書霊豊盤謹書岩盤忠霊請書豊豊
enforcement trainers in Massachuse請S, Ne可York, New Jersey, Pennsylvania, nlinois,

Wisconsin, Texas, Califomia, Arizona an      認諾.
       OuaIi鯖cations for Renderin蜜ODihions. I am of course also relying on my education,




certified thousands of police fireams and u!e of force instructors and law enfor∞ment amOrerS.



       I have been ce舶ed by the FBI, NRA, the State ofNew Jersey, the Commonwealth of
Pemsylvania, and others as a law enforcem6nt handgun instructor, Shotgun inst調ctor, PatrOl rifle



豊富霊謹書豊謹書蒜慧霊豊富霊宝豊謹言。n
trained and certified as an instructor in defehsive tactics (unamed selfLdefchse and su切ect

control techniques for poli∞), baton (with two styles of police batons), PePPer SPray, as a Taser

Master Instructor, as a less lethal impact mu匝tions instructor, WeaPOn retention instructor

(weapon retention being the o餅∞r        s ability上o retain or regain co血OI oftheir weapon when an




tes紺ed as an expert in many cases invoIving o綿cers       d∞isions to use, Or nOt tO uSe, defeusive

tactics, PePPer SPray, baton, Taser and fireains.




謹葦豊謹書豊潤誓書豊島謹謹器豊F工
       Agencies for which I have trained a茸d certified law enforcement firearms and use of

for∞ instructors include the New York Stat6 police, Oregon State Police, Louisiana State Police,
Mssouri皿ghway Patrol, Washington D.C」 Metropolitan Poli∞, Massachusetts Metropolitan


器器露盤葦諾諾盤置霊器霊豊島認諾謹&
Miami, Jacksonvi11e, St. Petersburg, Dallas, Trenton    Jersey City, Atlantic City   Seattle,




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sp。k。n。, Ta。。ma, Sal,.ak。 。1嘩n」                  the New Jersey Department of Corrections, the




tra餓c stops and DⅥ stops ofvehicles, Vehibular and foot pursuits, and ba正caded gurman

situations, including incidents culminating ih the arrest of dangerous suspects at gunpoint. In my
she正ffs depa血ent service I have ca正ed p向per spray, batons, Tasers, handguns, Shotguns, and

p加●01軸es.


         I have been a regular presenter at regional, national and intemational conferences of law

盤謹書器露盤祭器塩害請謁嵩‡監認諾宝器It
St. Leuis, Mssouri, Where I was a panelist c)n both the ILEETA Deadly Force Panel ofExperts
and the皿EETA Active Shooter Panel ofEkperts.


         I have a血ored over 120 published articles in the fireams and tactics field, WaS
Technical Editor for several years of The Pdlice Marksman magazine, am the principal author of
Fireams Trainin岬岬the Associate Editor of Standards
& Practices Guide:岬and the principal author ofthe
IALEFI Guidelines for Simulation Training Safetv. For about the past曲rty‑five (35) years I
have served on the Board of Directors ofthe Intemational Association ofLaw Enforcement
Firearms Instructors (IALEFI). I am ourrently血at organization        s First Vice President and

Chaiman of its Instmctor Criteria Committee. I have fomerly chaired its Safety Committee and
its Firearms Training Standards Comm誼ee.


         I assisted血e Commonwealth of Penhsylvania in developing and writing the fireams and

use of force curriculum used at all ofPennsylvania       s 22 municipal police academies for a period

Of over 15 years, and thereafter assisted in tne updating ofthat curric山um. I was one ofthe

authors of the Pemsylvania MPOETC      s PatroI Rifle Guidelines distributed to law enfor∞ment

ngencies throughout the state. I was one ofthe four su切ect matter expeus who developed the
MPOETC   s mandatory in‑Service      Police U!e ofForce      training program tanght in 2016 to some
24,000 police o舘cers statewide, including assisting in teaching the pilot program and instructor

training programs for that course.


         I taught the currioulum segment entitled       Use ofForce in Law Enforcement   in the

recruit training program at the Allentown (PA) Police Academy for about seven years. That
program addressed a11 commonly used law chforcement force moda規es, including defeusive
tactics, PePPer SPray, baton, Taser, and fireatms.




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 us,lc。寵霊藷盤霊霊草蕊謹豊富嵩霊豊島n
Indiana. The seminar addressed pepper s叩y aS One force option available to police.
                                                 音




嘉認諾謹話霊認諾誌霊‡Or
Angeles.

          I have taught a variety of use of force topics at regional, national, and intemational law
enforcement training conferences nationwide for some 3 7 years, and have attended numerous
training classes and courses on the use of force ranging in length from an hour, tO Week‑long
courses, tO One COurSe that invoIved on‑Site and remote videoconference training §eSSions, With

W血en asslgnmentS, Oral presentations and testing over a five‑mOnth period.


          I assisted the Commonwealth of Pennsylvania in a program to purchase seven electronic
video shooting/decision making simulator systems, Which were put in place in seven locations
throughout the state. The systems included the use ofpepper spray as a ft鵬e option. My work in

that program included training use of force instructors to run these simulators, and conducting
the pilot training program.


          When I lived in Indiana and was a reserve deputy sheriffthere, I obtained the use ofan
electronic video shooting simulator, trained an instructor cadre, and ran shooting simulations not
Only for our sheriffs department, but for all other law enforcement agencies in the county, tWO
years in a row. Those simulator systems alsb included pepper spray as a force option・ Our
County Prosecutor       s O餓ce also had me cohduct classroom in‑Service training in use offorce,

attended by o餓cers and deputies from al1 1aw enforcement agencies county‑Wide.



          Here in Pennsylvania, Our District Attomey      s O餌ce has on three occasions had me

COnduct firearms, taCtics and use of force training for assistant district attomeys (and for the
elected District Attomeys themselves) to bc舶er enable them to analyze and properly deal with
use of force incidents. I have conducted several Pennsylvania Continuing Legal Education
(   CLE    ) programs on use of force and law enforcement training and tactics for attomeys,
PrOSeCutOrS, and judges. I have conducted ahd assisted in conducting man‑On‑man          reality‑based
training     (    RBT   ) use of force simulations for law enforcement o餌cers and others. This past

year I conducted video shooting simulator decision making training for approximately 40 police
and armed security o蹄cers, uSing the mobil;e electronic simulator system from Ha正sburg Area
Community College        s Law Enforcement Tralning Center. That simulator system included not

Only firearms, but pepper spray and Taser as force options available to the trainee. I have
authored a published and widely‑uSed set of safety guidelines for simulation廿aining (See al)OVe),

and am currently chairing a comm誼ee that is updating and enlarging those standards. I have

written and assisted in writing fireams, PePPer SPray, Taser and use offorce policies for my
sheriff     s department and other agencies, and have for over 20 years chaired our sheriffs
department       s shooting review boards, reVleWlng and making determinations regarding the

justification for o綿cer‑invoIved shootings.




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壷霊諾護憲詩篇謀議護憲詰
霊葦蕊器議書豊島端整露盤霊露語霊宝豊器謹言‡,
th。 。ffbets 。f intervening barriers such as w王ndow glass or automotive glass, CIothing, Or

partitions in buildings, the speed with which the shots were or could have been fired, mOVement
ofthe invoIved individuals during the shooting, Whether a shooting appears to have been
accidental or intentional, the causation ofthe shooting if accidental, etC. The physical evidence
used includes such things as the location, direction and characteristics of bullet damage to
physical (羽ects, the location, direction and characteristics of bullet wounds to people, the
location of Qjected cartridge cases and otherlballistic evidence, the inspection and characteristics
of the firearms used, the known ballistics ofthe fireams and ca巾idges, Chronographing the
velocity ofthe prQjectiles used, the location血d condition of recovered pr句ectiles, Ca正dge

cases and other ballistic evidence, Qjection pattem testing of the incident firearm(S), PrOXimity‑
to‑muZZle testing, teSting for lead and gunshot residue, analysis of video and audio evidence
when available, Witness interviews and testiinony when available and to the extent it may be
reliable, etC.


        I am also certified as a Force Science Analyst, and as an Advanced Specialist in Force
Science. I have regularly testified in courts on force science issues. In fact, I testified on such
issues for many years before there was such a certification course or any certification in the field
that, by then, had been named気force science." The field offorce science is the application of

scientific principles, reSearCh and testing to confrontations in which force is used by police
o綿cers or others. Force science invoIves human factors such as reaction time, the speed with

which one can cover a certain distance on foot, tum, draw and/or fire a gun, the speed at which
multiple shots can be fired, the relative speed of one individual        s action compared to another

individual   s reaction to it (SO Called   action vs. reaction    ‑ One aSPeCt Of so‑Called   reaction

time   ), and an individual   s perception and evaluation of deadly threats. I have, Since the early

1980   s, electronically timed the perfomance of a wide variety of shooting skills and actions,

including the drawing and firing of handguns from a variety of hoIsters, POSitions and locations,
both as perfomed by myself and by hundreds of my students and others, ranging from beginning
fireams users to instructors, SWAT o舘cers, and other highly‑trained individuals. Force science

also includes the study of the perceptual and physical changes commonly experienced by
individuals during high‑streSS uSe Of force confrontations, SOmetimes described as part ofthe
  fight or flight syndrome      or Body Alam Reaction (     BAR   ). These stress‑CauSed reactions,

including such things as increased rate§ Of respiration and heart rate, loss of fine motor ability

and coordination, tunnel vision, and auditory exclusion, have been well researched for years, are
the subject of numerous articles in scholarly, SCientific and professional joumals and books, and
have been part ofthe curriculum taught to law enforcement o鮪cers            instructors, and criminal

justice students nationwide for decades, SOme Ofwhich curriculum I have helped to write and
teach. In many respects, these well‑reCOgnized stress e鮎ects also form the basis for the tactics

and techniques which law enforcement o縦cers are trained to use, aS the o珊cer            s abilities ‑ and

disabilities ‑ under stress must be taken into account in designing and selecting techniques the
o綿cer is expected to use in the stress of life」and‑death confrontations. I also note that in

addition to studying these stress effects in academic settings          I have experienced some ofthem




                                                     与
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myse11 have observed them in trainees, and性ave observed them in o餌cers and others I have
debriefed or interviewed following shootings and other use of force incidents.


       In this case, I have been asked to prdvide an oplnlOn regarding the effects of pepper
spray, also known in the law enforcement community as負OC" or oleoresin capsicum. I have

carried pepper spray in both of the sheriff   s depa血1entS for which I have lServed over the past 25

years・ I have also carried pepper spray for personal selfLdefense use on a daily basis for over 30
years・ I was Director of Security in charge of an =‑man armed executive protection team
equipped with both fireams and pepper spray. I have successfu11y completed and been certified
in a Law Enforcement Chemical Munitions Training Program (AAI Corporation 1988), an
AerosoI Chemical Restraint (    OC   ) User Class (Wernersville Police Department 1993), and an
OCAT (Oleoresin Capsicum AerosoI Training) Instructor Course at Harrisburg Area Community
Collegeブs Law Enforcement Training Center (1996). I have over the past 25 years conducted

many oc training classes, with various brands, tyPeS, and foms of pepper spray and pepper gel,
for security o綿cers in the pharmaceutical, Steel manufacturing, health care, and public utility

industries, aS Well as for security teams and staff in schooIs and houses of worship, and
sometimes for private individuals. I have personally pepper sprayed dozens oftrainees in these
classes. I have seen criminal suspects pepper sprayed in police actions, and have pepper sprayed
two individuals myself In my pepper spray training and expert witness work, I have personally
been sprayed, and have seen others sprayed, With various brands, Strengths and types of OC,
including mist, Stream, SPlatter‑Stream, foam and gel units. I have seen demonstrations of pepper
ball guns by their manufacturers. Several manufacturers of pepper spray units and pepper ball

guns have sent me their products for test and evaluation. I have evaluated pepper spray units for
their eifectiveness, uSability, flammalbility of contents, and safety in practical use. Brands of
PePPer SPray With which I have had personal experience include MSI‑Mace, CAP‑STUN, Aerko,
Guardian, Smith & Wesson, Bodyguard, ASP, Disabler lO‑13, Spitfire, Pepper Power, Federal
Laboratories, Federal Cartridge Company, Defense TechnoIogy (First Defense), Fox Labs, Sabre
(Security Equipment Co叩oration), Kimber Pepperblaster, and others. I have experience with
and/or have evaluated OC units ranging in size from ba11point pen and keychain size units,
kubaton‑tyPe units, through logger   units, POlice duty belt canisters (MK‑3, 4 and 5 size),
  crowd control   fire extinguisher‑tyPe units, PePPerball guns made by various manufacturers,

and OC dispensers designed to be incorporated into the construction of vehicles, SChooIs, and
COrreCtional facilities. I have provided training or consulting services of one sort or another to
literally hundreds of law enforcement agencies, and血ousands of law enforcement and security

o綿cers, Who have used OC in one fom or another, and have gotten a great deal offeedback
from them al)Out their experience with OC and its effectiveness. I currently have in my mVentOry
60 or more OC units ofvarious brands, tyPeS and sizes, including both live and inert training
units. I have worked as an expert witness in several cases in which pepper spray has been used
by police, COrreCtions o綿cers, and/or private citizens (   civilians   )・ I have watched many videos

Of people being pepper sprayed in law enforcement incidents, both in cases in which I have
served as an expert and in other police incidents, aS Well as in training classes   training videos

and demonstrations. I have written and consulted on pepper spray training and use policies for
security and law enforcement agencies, and on product wamings and directions for use by
pepper spray manufacturer§・ Finally, OVer rOughly the past 30 years I have read and reviewed
numerous studies and articles conceming the e節ects, effectiveness and safety of various pepper

SPray PrOducts.



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       One of my re∞nt conSulting engagements was to organize, train and write use offor∞

policy for an armed, PrOPrietary ecurity team for a large regional health care provider, OPerating
several hospitals and serving over 2 million patients annually. Ano血er ofmy recent security

∞nSulting engagements was to perform similar work for a multi‑billion‑dollar public utility,

operating in several states. I trained o舘∞rS for both organizations in the use ofpepper spray.



       I have served as an expert witness for血e past 38 years in state and federal ∞urtS

nationwide, including work in many cases invoIving shootings and use offorce by poli∞,
SeCurity o珊cers, and private individuals. In total, I have served as an exp餌in over 400 cases,

and have testified nearly one hundred (100) times at trials in state and federal courts throughout
the United States, in addition to testimony before many grand juries, Police Boards, arbitration
courts, federal and state administrative tribunals, State legislative ∞mmi鵬es, and by invitation
before ∞mmittees ofboth Houses ofthe United States Congress. I have been qualified as an

expert by state courts in Califorria, Connecticut, New York       New Jersey, Pemsylvania,
Delaware, Maryland, West Virginia, Temessee, Gcorgia, FIorida, Louisiana, Arizona,
Wis∞nSin, Mchigan, Mnnesota, Ohio, Iowa, Kentucky, Mississippi and皿nois, and by federal
∞urts in Califomia, Comecticut, New York, New Jersey, Pemsylvania, Maryland, Temessee,
Louisiana, Arkansas, FIorida, Montana, Illinois and Oregon. In total I have been qualified and
have testified as an expert in some 14 federal courts in 12 states, and in some 46 state ∞urts in

22 states, as We11 as in the Dis正ct ofColumbia∴in some locations I have testified in multiple

cases before the same court. I have also served as an expert in cases that have been dismissed,
Settled, Plea bargained, Or for some other reason have not gone to tr融or o血erwise have not
required my trial testimony, in at least 22 other states, Puerto Rico, the U.S. Virgin Islands and
Canada.


       W皿e I am working in this case as an expert on behalf ofa criminal defendant, I have

many times worked as a prosecution witness (̀̀state   s witness    ) in New Jersey, Pemsylvania,

Georgia, South Dakota, Wisconsin, and Temessee. I have worked a an expert in cases for law
enforcement agencies and o蹄cers, and have also testified many times運盛Iaw enfor∞ment

ngencies and o綿cers. In civil cases, I have worked for bo血plainti触and defchdants, both for
and against firearms manufacturers and hoIster manufacturers, and both for and against shooting
ranges and gun clubs. In other words, my teStimony and my oplnlOnS are nOt      One Sided.

Because of唖s, I have many times been asked by prosecutors in several states to perform

independent evaluations of shooting cases, tO aSSist them in determining whether or not the
POli∞ O舘cer(S) or others invoIved should be criminally charged・


       Further details of my education, tra血ng, eXPerience and qua皿cations are contained in

my cu正culum vitae, PrOVided along with this report.



       Incident Details. The incident(S) giving rise to拙s prosecution oceurred during血e
January 6, 2021 demonstration and riot at the U.S. CapitoI Building in Washington, D.C. I
understand it is a11eged that defendant Zachary Johnson (   Johnson   ) was in the vicinity ofthe

standoff between police and demonstrators at the lower west terrace tumel, and that he passed up
from a demonstrator behind him to a demonstrator ahead of him a crowd‑contrOI size OC unit
that was later used by som∞ne Other than Johnson to spray OC at the police. My understar]ding




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is that血is OC unit had come into the hands of demonstrators after it was abandoned by the

poli∞.


         坐臆Signme畦I have been asked to provide information to assist血e Court and/or finder
of fact in determining whether an OC unit ofthis type is a deadiy or dangerous weapon皿der血e

law pursuant to which Johnson has been criminally charged.


         Exeeutive Summarv. Since the mid‑1980     s, PePPer SPray Or       OC    has been widely used
血oughout血e United States and other countries as a non‑lethal control device or weapon by law
enforcement and security ngencies, and for self‑defense by private individuals (that is, nOn‑POlice
or   civilians    ). During tha両me, hundreds ofthousands of individuals ‑ Or mOre ‑ have been

pepper sprayed. In the overwhelming mgivrity ofthese instances of pepper spray use, there have
not only been no serious bodily i可uries caused by the pepper spray, but no lasting effects after a

relatively short period oftime following the exposure. Pepper spray is not a dangerous or deadly
weapon as those terms are commonly used in law enforcement use of force training and policy.


                                      Discussion and Analvsis

         DescriDtion and Historv of PeI)DeI. SDraV. Pepper spray (also called         OC   or oleoresin

capsioum by poli∞) first came into law enfor∞ment uSe aS a nOn‑lethal subject controI weapon

in the United States in the 1980    s. Some sou∫CeS indicate pepper spray was鉦st developed to
control non‑human threats, SuCh as bears and vicious dogs. The U.S. Postal Servi∞ has issued

pepper spray for years to letter carriers for use in repelling attacking dogs. See U.S.P.S. website
十一畑、ゝ !I詰・、詰言古、‥〇品1‑




         By the early 1990   s, PePPer SPray WaS       gaining acceptance and popularity among law

enforcement o鮪cers and police agencies as a safe and effective method ofincapacitating violent

Or threatening su切ects,      0leore$in (二d加jc      m: P解,er f砂,り,餌a Fbrce Altem初e, National
Institute of Justice TechnoIogy Assessment Program, March 1994. Studies showed reduced
su切ect i互iuries and reduced o綿cer i互iuries in agencies uslng PePPer SPray. As of 2013,          an
estimated 94% of all町S.] police departments had authorized血e use of pepper spray, including
lOO% of all forces in jurisdictions with populations of 500,000 or more.   Pq即er &    rの′・・

Research h可gh応on j沸cts andE彿Ctiveness Hove C3〃bed l応4:peaんNational Institute of
Justice, May l, 2019. The use ofpepper spray by U.S. law enforcement agencies has d∞lined in
recent years as the Taser has come into more widespread use as a non‑lethal force altemative.


         The active ingredient in most pepper sprays is oleoresin capsioum (     OC   ), a nOn‑tOXic,

Organic extract of hot peppers, including chili peppers, Ofthe genus c̀pSic      m・ There are 20 0r

more varieties of capsicum peppers, SOme Ofwhich are cultivated for their use as spi∞S in the

oulinary industry. Capsicum peppers are also the sour∞ Of capsaicin, uSed in various topical

analgesic liniments and oin血ents used for relief ofjoint and muscle pain, SuCh as the classic

Bengay and similar products. OC can also be produced synthetically by chemical processes.
When I was first trained in血e use ofOC sprays in the early 1990       s, it was stated血at the
capsICum PePPerS uSed to produce OC in血e United States were grown in Central and South
America. An industry source now tells me that almost all ofthe capsicum peppers used for




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c皿ent OC production in血e United States are imported as food grade, finelyTground peppers in
55‑gallon drums from two sources in India, Where the peppers are now grown・



       An organic soIvent, tyPically e血anol (        g由n alcohol   ) is used to extract the capsaiein

from the ground capsICun PePPerS. The al∞hol is then evaporated ofl leaving the waxy residue
which is capsaicin‑∞ntaining ol∞reSin capsicun (           OC   ). The OC is then processed with an

emulsifier, COmmOnly propylene gly∞1, Which is ̀̀generally recognized as safe           by the U.S.
Food and Drug Administration (FDA 2017). The emulsifier allows the OC to be suspended as
tiny droplets in a carrier liquid, mOSt COmmOnly e皿er water or alcohol. Water is the preferable

carrier, aS uSing alcohol for this purpose may result in血e pepper spray being flammable, with

the risk that it could be ignited ifused in the vicinity of an ignition source such as a stove,
bardecue grill, Candle, SPark from a Taser, Cigarette, Or muZZle flash from a firearm・ The carrier

liquid containing the tiny droplets of OC is then put into aerosoI spray canisters       and pressurized

with a gas. Nitrogen, Which is a non‑flammal)le gas言s often used for this purpose. Depending
on血e fomulation ofthe canister          s contents and血e type ofnozzle and or描∞ uSed, the OC may
be discharged from the canister as an aerosol mist, a寝ballistic stream,        splatter stream,   pepper

foam, Or PePPer gel. OC in dry powder or liquid fbrm is also Ioaded into spherical, breakable
  pepper balls,       which can be launched from pepper ball guns, tyPically CO2 powered, for crowd

∞ntrOl by police or selfLdefense by private individuals. When the pepper ba11s strike the s¥坤ects
or surTOunding objects, they break open to release the OC・ Larger OC prQjectiles can also be

fired by police from 37mm and 40mm launchers for use in riot control and against barricaded
SuSPectS.


       Defense Teehno10蜜V ̀̀First Defense" MK‑46 0C Unit. Based on infomation provided
by the prosecution, and on my review ofthe incident vidcos, the OC unit invoIved appears to be
a Defense TechnoIogy        First Defense    MK‑46 aerosoI OC prQjector.    First Defense   is a line of

OC products sold by Defense TechnoIogy, LLC, a comPany located in Casper, Wyoming whose
law enforcement products are used throughout the United States and elsewhere. Until re∞ntly

Defense TechnoIogy was owned by Safariland, a maJOr manufacturer of law enforcement
hoIsters, body amor, and other police products. The designation        MK‑46     indicates that the unit

COntains 46 ounces (     fomulation weight    ) of contents. The unit looks like a small fire

extinguisher, with an aluminum canister ∞ntaining the OC fomulation, and a leverrtype

actuator. When血e ac山ator is pressed, the OC is discharged in a stream. Two variations ofthe
MK‑46 OC urit, di熊ring in the direction in which they discharge the OC stream, are available
from the manufacturer. One option is the MK‑46H in which the tank, When held in a horizontal
POSition (thus, the     H    ), discharges the OC stream in a horizontal direction・ This appears to be
the type ofOC unit observed in血e January 6 videos provided to me. The other option, the MK‑
46V, is similar to a standard small fire extinguisher, in which the canister, When held in a vertical
POSition (thus, the     V    ), discharges the OC stream in a horizontal direction. Both units have a
tank diameter of4.25        . The MK‑46H has a height (length) of 16.5     , While the MK‑46V has a
height (1ength) of 19.25       . The manufacturer   s product information states the e鈍融ve range of

either unit to be 25‑30 feet       To comply with shipping regulations, the units are shipped to the
law enforcement agency, dealer or distributor unfilled (empty) and unpressurized. The dealer or
agency血en制s the unit with the liquid          re糾     (OC formulation) provided in a plastic jug by the
manufacturer, and pressurizes the unit with nitrogen・ The unit can be re甜Ied and re‑uSed many

times. The MK46 refills are available in a range of OC strengths (See below), including O.2%,


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0.4%, 0.7%, 1.3%, and a mixture of l.3% OC with 2% CS (Orthoschlorobenzalmalonitrite)
teargas. My understanding is that the MK‑46 unit at issue in this case con融ned the l.3% OC
fb肌ul如i on.


        Effects and即roctivness of OC. Police o珊∞rS and others using OC spray are

instructed to aim for the a的Cker s eyes and face. The OC is variously caned an lrritant,, or
  inflammatory" agent, as it i正tates or inflames the mucous membranes in and around the eyes,

nose,血oat and airways. On human subjects on whom it is e鮮betive, OC will, wi批n several

se∞nds of contact, CauSe an involuntary shutting of the eyes・ This assists police in contro11ing

and arres血g assaultive suspects, and can allow private individuals using OC for selfLdefense to

escape from criminal attackers. Other physical e純加S Of OC exposure that are often, but not
always, Seen Can be a runny nose, ∞ughing, di飾oulty in breathing, and a burning sensation in

sensitive skin areas, including the face.


        In many cases the OC will not aff如a su切∞t instantan∞uSly, but a subject sprayed in
血e face with OC will be affected within al)Out 3‑5 seconds. Unfortunately, this delayed effect

may s拙allow a s噂ect amed w血a knife, gun Or Other weapon to do significant ham before
the OC takes e純血And w皿e OC is very effective against some individuals, Others are barely

affected by it, Or do not appear to be affected at all. Studies ofOC use as a law enfor∞ment

force altemative have shown highly variable results, ranging from e純血veness in as many as

85% ofincidents in which it has been used, tO aS few as 20% ofincidents. ee乃e聯ctivemss
a棚dS華か〆P解,er助rc弟U.S. Department of Justice, O餌ce of Justice Programs, Apri1 2003,

p.10.

        Depending on the individual, the degree of exposure, the brand and type of OC       and other

factors, the duration of OC     s physical e節ects usually ranges from al)Out 20 to 90 minutes. Most
individuals recover from the worst effects of血e OC within 30‑45 minutes. The steps

recommended to hasten recovery from the effects of OC include‥


           ●   Move the individual to an area with fresh air, Or in front ofa fin.

           ●    Flush the eyes and face w皿copious quantities ofcooI water, first removmg

               contact lenses if wom.
           ●    Remove/replace any clothing that has been saturated with pepper spray.

           ・ Donotrubtheeyes.

           . Do not use salves, CreamS Or Ointments that can trap the pepper next to the skin.
           ・ A mild soap, SuCh as baby shampoo, Can beused to help wash the OC from the

               skin and hair.
           ・ In poli∞ uSe, reaSSure the su勘ect血at the e餓3ctS Of血e OC are temporary, and

               that the discomfort will soon subside.


        Strength of OC Formulations. There is no universa11y‑aCCePted method by which
manufacturers measure or advertise the strength (      hotness    or e熊証veneゆof their OC

products. Several methods are used, Which are in∞nSistent and ∞nfusing. Some manufacturers
advertise and/or label their OC products by血e percentnge of liquid OC formulation added to the
total liquid contents of the cannister. For example, the負Disabler lO‑13,, brand of pepper spray is

labeled as containing    15% Red Pepper.    Its manufacturer tells me that the 15% figure   is a



                                                  lO
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derivative before being broken down・,, TheU.Srfederal govemment uses percentages by dry
weight of the capsaicin before being emulsified and put in suspension in the liquid contents of
the OC formulation. The range of available First Defense MK‑46 fomulations, from O.2% to
l.3%, rePreSent these percentages. A source at MSI Mace advises that OC spray for use against
humans has a maximum of l.4% OC when measured in this way. New York State limits civilian
(i.e., nOn‑law enforcement) self"defense units to not more than    0.7% total capsaicinoids,     see
New York Codes, Rules and Regulations, Vol・ A‑1, Title lO, SubChapter D, Part 54, Section
54.3). OC spray for use against dogs, SuCh as is issued by the U.S. Postal Service to le請er

carriers, tyPically has a strength range of O.66% to O.7%. Bear spray, WhilCh the EPA classifies
as a pesticide言s required to be within the range of l'0% to 2.O% capsaicin and m勾Or

CaPSaicinoids.


       A shortcoming of both of the measurement methods described above (percentage of
active ingredient formulation in the total liquid contents ofthe OC uhit, Or PerCentage Of OC in
the liquid contents) is that neither method accounts for the fact that some capsicum peppers, and
thus some capsaicin, Will be  hotter   (SPicier) than others. For many years the standard for
  hotness   of pepper spray was (and for many manufacturers still is) measured and advertised in


Scoville Heat Units, Or      SHUs.   This is a measurement using the Scovi11e Organoleptic Test
developed by American pharmacist Wilbur Scoville in 1912. In the test, the capsaicin is first
extracted from the peppers using alcohol as a soIvent, then diluted with sugar water, then tasted
by a panel offive experienced pepper growers or pepper eaters in decreaslng PerCentageS in the
SOlution until at least three ofthe five tasters can no Ionger taste the pepper. As examples,
common jalapeno peppers range from al)Out 2,500 to 5,000 SHUs, Original Tabasco sauce also
about 2,500 to 5,000 SHUs, SOme habanero peppers cIose to 350,000 SHUs, ghost peppers to
OVer l,000,000 SHUs, and most OC spray used by law enforcement from about 2,000,000 to
3,000,000 SHUs. One manufa.cturer, Fox Labs, Which says it makes          the hottest pepper spray m

the world,   advertises its product at 5,300,000 SHUs.


       Because the measurement of pepper spray product       hotness     by the Scoville Heat Unit

SCale appears to be su切ective and imprecise, in recent years some manufacturers, including

Sabre, Defense Technology and others, have instead tumed to high perfomance liquid
Chromatography (    HPLC   ) perfomed in testing laboratories, Or Other scientific analysis

methods, tO teSt the strength of their products. The Defeuse TechnoIogy product literature for
the MK。46 OC unit states that血e manufa.cturer:


                 … nO Ionger recognizes Scoville Heat Units (SHU       s) as a viable means to

                 measure heat in regards to pepper spray (OC). SHU       s are a measure based
                 On the perception of heat which is assigned to various peppers by a panel
                 Of five tasters as described in the American Spice Trade Association,
                 Analytic Method 21.0. The only true way to detemine the heat value of a
                 PePPer is by laboratory assay ofM勾or Capsaicinoids.


       The l.3% rating ofthe First Defense MK‑46 unit in this case is within the percentage
range of OC sprays typically used by both law enforcement and the private sector.




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        Placement of OC on the Use ofForce Continuum. In many law enfor∞ment agenCies,
academies, trairing programs, and w血en use‑Of‑force policies, a SChematic called a             use of

force continuum    is used to help o綿∞rS understand the concept that there are lower‑1evel and
higher‑1evel uses of force   and that some uses of force are more ir:VaSive      and more likely to

CauSe Serious ir申vry, than others. W皿e血e titles given to the vanous steps on the use offorce

∞ntinuum may vary somewhat from one stale, law enfor∞ment agenCy, Or aCademy to another,

levels of force in many agencies, from lowest to highest, are Often expressed as fo11ows‥



        1. O飾cer presence (arrival of unifomed o揃cer, display of badge/ID, marked car)
        2. Verbal direction (requests by o飾cer, directions, commands)

        3. Physical restraint and contro1 0oint locks, COme記ong holds, handcu節i, etC・)

        4. Intemediate force (kicks, Strikes, baton, Taser, impact munitions, bite & hold K‑9s)
        5. Deadly force (firearms, intentional baton strikes to head or neck, etC.)

        Depending on the state and agency, OC is typically placed either at Leve1 3 (       Physical
Restraint and Control    ) or at Leve1 4 (    Intemediate Force    ) on血e Force Continuum. For many

years, my home state ofPemsylvania placed OC at Leve1 3, Physical Restraint and Control,
because unlike kicks, forearm strikes, baton s正kes, and the use of K‑9s to bite and hold resistant

Or aSSaultive su切ects, the use of OC typically results in no physical i巾ury to the subject, Only

temporary discomfort and, hopefully, incapacitation. Some other states pla∞ OC at Leve1 4

(Intermediate Force) along with the Taser, but differentiate it at that level from other
Intemediate For∞ OPtions such as the baton, Strikes or kicks that will usua11y cause l叫ury,

although not deadly ir申vry, tO the suspect. I know of no state, 1aw enforcement agency,廿aining

academy or instructor that places OC at Leve1 5 (Deadly Force) on the Force Continuum.

        In many law enforcement agencies, When dealing with a physically capable suspect who
Veわally resists the o飾cer     s armouncement that the suspect should submit to a町est, the o飾∞r

WOuld pepper spray the suspect before making any a請empt to         go hands‑On     to physica11y

control and handcuff the suspect. In other words言f the o純cerブs command to血e suspect to
  Tum around and put your hands behind your back  is met with a response such as clenched

fists, the suspect assuming a fighting stance, Or utterance Of words such as        F軸you, I    m not

going! ,   the o餌cer would then immediately pepper spray the suspect, before making any attempt
to physically control血e susp∞t and handcuff him. This is because pepper spraying the suspect

at that point is the action that would be least likely to result in any physical injury to either the
SuSPect Or血e o飴cer than any other for∞ OPtion the o餌∞r could use. Today, in many agencies,
OC spray has been replaced by Taser as the non‑lethal force altemative of choice. However, the
fact remains that pepper spray lS a Very low"1evel use of force, largely because it almost never
results in any physical irjury to the suspect, Only temporary discomfort and, hopefully,
temporary mCapaCitation su飾cient for the o飾cer to con廿Ol and handcuffthe suspect・



        OC Training. Training with OC, Whether for police, SeCurity o触cers, Or Private
individuals, will usually start wi血classr∞m instruction explaining the nature of OC, When and

how it should be used, its effects, and the steps that can be taken to hasten recovery from its
effects. The classroom instruction is typically followed by hands‑On training in which OC
 training units   containing pressurized   inert   liquid that has no pepper in it are sprayed at

targets, tO familiarize the user in OC tactics, the operation ofthe OC unit      and to teach the user




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the e綿如ive range of血e u血Many OC training programs for police and securidy o綿cers, as
well as most OC ins血rotor programs I am falniliar with, also include the trainees being sprayed

with   ̀live   OC units ‑ that is, units containing pepper ‑ tO familiarize the廿ainees with the

effects of OC, and with the steps used to hasten re∞Very from those eifects.



        Another mayor reason for spraying police and security recruits and o餓∞rS with live OC

is to teach them that they can still function e熊畑ively after being sprayed. For example, I have

participated in programs, and have observed and leamed al)Out Others, Where after being sprayed
wi血OC, the o餓cer must perform tasks like delivering baton strikes, kicks or forearm strikes to

a heavy bag, running to another location, uSing his radio, drawing his handgun and dry餌ng at a
targq. Trainees are taught that in order to perform tasks like ruming or firing their handgun that
requlre eyeSight, they may have to use their thumb and forefinger to hold their eyelid open ifthe
effedts ofthe OC would othenvise cause them to shut their eyes. I note血at while some sources
describe OC as =temporarily blinding" someone sprayed with it, in my experience and that of
many other law enforcement trainers,血e OC doesn        t actually cause temporary blindness   Only

the shutting ofthe eyes. Ifthe eyelid is held open with one     s thumb and forefinger   One Can See

to perfom tasks that requlre VISIOn.

        After spraymg a Class of o餌cers with OC, Which for obvious reasous is usually done

outside, they are typically allowed to rinse the OC off their faces using a garden hose or buckets
of water provided for that purpose. Some agencies and academies have made the spraying of
trainees with live OC a mandatory part of OC training and qualification, While others have glVen
the trainee the option whether to be sprayed or not. It has typically been mandatory in OC
instructor courses of which I am aware.


        To give me even greater perspective on the effects ofOC血an I have from my own

PerSOnal experience and research, I spoke by phone with co11eagues in the law enforcement
training world in many parts ofthe United States, including New York, New Jersey,
Pennsylvania,皿nois, Wisconsin, Massachusetts, Texas, Arizona, Oregon, New Hampshire and
Califomia. In total, the individuals I queried had experience with or information regarding
litera11y tens ofthousands of individuals being sprayed with OC, both in tra証ng and in law

enforcement incidents. Examples ofthe agencies invoIved included the Los Angeles Police
Department, the New Jersey State Police, the North Carolina Justice Academy, the New York
Bureau of Municipal Police, the Nassau County Police Department, the Pemsylvania Municipal
Police O餌∞rS Education & Training Commission, the Allentown (PA) Police Academy, the
Amarillo Police Department, the Phoenix Regional Police Academy, the New Hampshire State
Police Academy, the MIwaukee Sheriff      s Office, and others. None of血em reported any deaths

Or incidents ofgreat bodily ham caused by the OC. Clearly, law enforcement, correCtional, and
Seourity o純cers and trainees, and OC instructor candidates, WOuld not be sprayed with live OC
ifit were believed that OC was likely to cause death or great bodily ir互ury.



        As mentionedわove, in my work as a law enforcement trainer, eXPert witness, and OC
instructor, I have been sprayed with perhaps 6‑8 brands and types of OC, including OC in
aerosol mist, Stream, SPlatter stream, foam and gel. For a case in which I worked as an expert in
Boston al)Out Six years ago, I had a video made of me being sprayed very thoroughly w皿
  Disabler lO‑13,  the type ofOC spray used in that incident・ Thats product has a l.4% m勾Or




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capsaicinoid content, and is thus at the stro垂end of the pepper spray range, With a higher

percentage than the MK‑46 concentration used at the CapitoI Building. After being sprayed, I
remained on camera for about 30 seconds before going off screen to flush my face with water.
While the experience was hardly pleasant, neither did the heavy exposure to this strong OC
produce death or great bodily i垂ury, nOr WOuld I have done this if I thought there was any
likelihood that it would. At the time I made this video I was 65 years old.

        SSA Gerald Ken Western,s ReDO請. and The Dan蜜erS Of OCまSSA Westem,
interviewed by telephone, WaS at that time empIoyed in the FBI       s Physica皿raining Unit. His

own training had included training in the use of OC spray. He himselfwas sprayed with OC
spray in his training as a New Agent      aS are all FBI New Agents. He stated that he had been
sprayed approximately six times   召and had overseen the administration of OC during training

more than 400 times." Regarding the e鱒ects ofOC, he stated that待OC is designed to affect

mucus [sic] membranes; it causes watery and buming eyes, runny nOSe, buming sensations of the
skin, and can cause coughing and some di綿culty breathing. Oftentimes声rainees have to
manually hold their eyes open in order to see while under the effects ofOC." SSA Westem           s

description of the FBI,s OC training was very similar to what I have described above. Trainees
are exposed to a 2‑SeCOnd burst of OC across their upper face and eyes from two am lengths
away, then must punch a striking pad for 20 seconds and make an arrest on a compliant subject.
He stated the purpose ofbeing sprayed is to負educate new Agents on the effects of OC and to

show them that they must be al)le to persevere through the pain and continue to perfom law
enforcement tasks …



        SSA Westem stated that OC used against a law enforcement o綿cer負would be dangerous
due to a risk that the o餓cer could become incapacitated and lose control oftheir weapon,        which

presumably could then be used against the o綿cer or others. While I agree that, given the
circumstances of a particular incident, SPraymg a law enforcement o綿cer with OC, like Tasing

an o鮪cer, COuld possibly incapacitate an o餓cer and allow a suspect to disarm the o珊cer, that is
not what happened in this case. The possibility that OC could be used in this way does not
render OC言n the manner in which it is normauy used or in which it was used on January 6, a

deadly or dangerous weapon・ Again, if OC were a dangerous or deadly weapon, POlice would
not use it as a non‑lethal weapon for subject co血Ol and crowd control, nOr WOuld they spray

O紺cers with it in training such as SSA Westem has described. My understanding is that
defendant Zachary Johnson did not spray the MK‑46 canister of OC at all, hejust passed it up
through the crowd. There were many other amed o餌cers present in the tumel when血e MK‑46
was ultimately discharged. If anyone in the crowd had attempted to disarm an o餓cer ‑ Which I

have no infomation was the case ‑ there were other o餌cers present, Capa心le of preventing the

disaming, by using deadly force ifnecessary to do so. A violent criminal suspect can, Ofcourse,
use many possible techniques to incapacitate an o触cer for the purpose of attempting to disarm

the o珊cer. These techniques could, for example言nclude perfoming a leg sweep on the o餌cer
to drop the o餌cer to the ground, Or apPlying an am lock to the o餌cer       s am. The fact that a leg

sweep or arm lock might possibly be the prelude to an attempt to disarm the o餓cer does not

render either the leg sweep or arm lock     deadly    a的Cks on the o舘cer, SO aS tOjustify the

o舘cer   s use of deadly force in response, unless and until a disarming attempt is actually made,

or until the circumstances otherwise indicate that it is objectively reasonable for the o綿cer to

fear a deadly a的Ck by the suspect.



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         SSA Westem also stated that   OC isThmmable. As a result, the use of defibrillator for

someone experlenCmg a Cardiac event is not authorized in an OC ∞ntaminated environment・
Additionally, the depIoyment of a taser in a contaminated envirorment is forbidden due to the
risk ofignition・" I note that SSA Westem悠comments in this regard do not apply to the First

Defeuse MK46 unit invoIved here. The MK‑46 uses a water‑based liquid carrier, like many
other OC products made in re∞nt yearS, and is flQ± flammable. The Defense TechnoIogy product
literature for the MK‑46 states that it is   EI)w [Taser] Safe,     EDW standing for an ̀̀electronic

discharge weapon     such as the Taser.皿e Material Safety Data Sheet (           MSDS    ) for the MK‑46
states that the product is寝Not generally flammable, aS SOlution is water‑based.



         Regarding the possibility that the OC itself could cause a serious reaction, SSA Westem
stated that he observed one instance (Out Of over 400, as he had stated) of an          unexpected

medical reaction    where   an individual suffering from asthma required hospitalization after

experlenCmg an anaPhylactic reaction・" SSA Westem       s interview dces not indicate血at血e FBI
stopped its practi∞ Of pepper‑SPraying New Agents in training after this single生unexpected
medical reaction" with this single asthmatic individual. I note血at any number of common items

can cause severe allergic or anaphylactic reactions, uP tO and including death, amOng
hypersensitive individuals. These substances include aspirin, PeanutS      Shellfish, milk     bee and

wasp stings, and many, many Others. Other factors besides asthma that have sometimes been
viewed as causmg Or COntributing to serious injury or even death of suspects arrested by police
have included mofoid obesity, Violent and proIonged physical struggles with the poli∞,

positional asphyxia, OVerdoses of drugs in血e individual    s system, and excited delirium. The fact
that SSA Westem observed Q皇室SuCh instance (out ofthe over‑400 applications of OC he

witnessed) does not make OC a     deadly or dangerous weapon,       defined as one which is          known
to be RE to produce death or great bodily i互ury in the mamer in which it is used              [emphasis
supplied]. See Elaine Jones v. United States, District of Columbia Court ofAppeals, 67 A・3d 547

(2013). When SSA Westem     s one in over 400 instances, invoIving an asthmatic individual, is
combined with血e literally tens of thousands of    no serious result      instances reported to me by
COlleagues, it be∞meS eVen mOre Clear that OC is flQ! a        dangerous or deadly weapon・



         An NIJ置funded s調dy of 63 instan∞S in which su切ects who had been pepper sprayed
later died in police custody found that only two ofthe 63 instances, both invoIving asthmatic
Su切ects, Were instances in which the OC spray    contributed     to the su勘ect    s death. In no cases
WaS the OC spray stated to be血e cause of death. See, n移E旅ctivenesIS and S%砂QfP雀やer

助rの‖わOVe. To put拙s study in proper perspective, One muSt understand that it starts by
selecting for study 63 instances in which suspects arrested by police had later died in police
CustOdy ‑ a Very tiny fraction ofthe total number of people pepper sprayed and/or arrested by

poli∞.


         The majority of scientific and medical studies have concluded that OC spray is
completely non‑tOXic and safe. The JZ甑ml少        krveSt祖印ve @hthahnoI昭)′ and Visual Science
has concluded that eye exposure to OC is not ha血ful, and there is no eviden∞ Saying pepper
spray causes Iong‑tem Visual problems' See, How Dangrro郷is Pqzper &)Pey?                , Essilor News.

         One recognized danger of using pressurized OC, esPeCia11y in stream fom, is血at if a
highly pressurized stream of anv substance hits one   s unprotected eyeball at very cIose range        it




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can cause mechanical injury to the eyeball.皿is is sometimes called the       ba11istic needle effect.
It is not specific to OC; the same type ofeye injury could be caused by water from a garden
hose, air from an air hose, Certain children, s toy water guns, Or Other cIose‑range PreSSurized
impact ofliquid or gas with one     s eye. Almost all ofthe police o餌cers I observed in the January

6 videos were wearing face shields, and I am not aware of any eye i巾uries, either to police or

demonstrators, reSulting from being pepper sprayed directly in the eye at too close a range.


          Over the roughly 35 years in which it has been widely used by police throughout the
United States, the mgivr danger recognized in its use is the danger that it may not effectively
incapacitate the suspect, reSulting in ir可vry to the police o飾cer. See P卿er助Jey; Research

hs勧ts on E旅cts and互旅ctil,eneSS Hove Ct             rbed璃4やeal National Insti請e of Justice, May
l, 2019, P.3: ̀因though OC application was associated with a decrease in su切ect i垂uries

compared with i垂uries from other use‑Of‑force options, OC was found to significantly increase

o縦cers     iI串ry risk.     This is one ofthe reasons the Taser has largely overtaken OC spray as the

POlice non‑1ethal weapon of choice in recent years.


          The videos ofthe January 6 incident I reviewed showed both the pIolice and the
demonstrators spraymg COPIOuS quantities c)fwhat appears to be OC at one another. I am not
infomed t hat any ofthe individuals exposed to OC suffered death or serious bodily i可ury as a

result.


          Unlike the sale offireams, Very few states restrict the sale of OC to adults, and it is
commonly offered for sale at sporting goods stores, runnerS StOreS, big box stores including
Walmart and Target, and on Amazon and other intemet sources. The genera=ack oflegal
restrictions on the sale of pepper spray is yet another indication that it is not a deadly weapon.


          It is significant that suspects pepper sprayed by police are not taken to the hospital or

PrOVided with other professional medical care as a matter of course, but in most cases are simply
allowed to flush their faces with cooI water, and sometimes take the other steps listed above to
hasten recovery from the effects of the pepper. The U.S. CapitoI Police training PowerPoint on
OC use, after telling USCP o綿cers to ̀争]eassure the subject that the O.C・ effects are temporary

and that the discomfort will soon subside,      instructs USCP o舘cers that     If significant symptoms

PerSist past one hour, Seek medical attention for the su切ect・        The Police Policy Studies Council
recommends providing medical attention ifthe symptoms have not abated within 45 minutes, Or
if the person sprayed requests it・ Clearly the fact that individuals pepper sprayed by police are
not even glVen medical care as a standard procedure indicates that pepper spray exposure is里Q!

COnSidered likely to result in death or serious bodily ham.

          The meaning of     dangerous weapon    , aS uSed in Count Two and Count Twelve ofthe
charges against Zachary Johnson, is that the weapon is either      inherently deadly    (such as a gun

or knife) or     known to be likely to cause serious bodily i垂ury or death to another person and the

defendant must use it in that manner.


          I have used many brands and types ofOC over the past 30 or more years, and currently
have in inventory 60 or more OC units made by various manufacturers. I have attended pepper
spray user and instructor classes, and have taught血e use of pepper spray to many others. I have




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read or reviewed numerous OC spray lessoh plans, PowerPoints, and law enforcement and
security agency policies on血e use of peppdr spray/OC. To the best of my recollection, nOt Only

are型塑Of these OC products ac∞mParied by wamngs or product literatlne indicating that
they are     likely   to cause death or serious bodily ir河ry, but none of them mention death or

serious bodily i可ury at a11. Again, OC is ahd has been widely used for ycars as a non‑letha霊

subj∞t control and crowd control device by直ice'


                                        Conc山ding OI)inions


       I have stated many facts and presented many opinions throughout the foregoing report.
A11 ofthese facts and opinions are to a reasonable degree of professional certainty in my fields of
expertise. This section on負Concluding Opinions" is intended to summarize or restate the most

significant of my oplmOnS. However, I expect and intend that any or all ofthe facts and opirions
I have stated throughout this report, nOtjust the Concluding Opinions in批s section, may be

used in the trial of批s matter‥ That being said, my Concluding Opinions, tO a reasonable degree
Of professional certainty in my fields of expertise, are aS follows:


   ・ Pepper spray, Or      OC   (Oleoresin capsicum) has been widely used since the 1980   s by

       law enforcement and security o触cers throughout the United States and other countries as

       a non‑lethal controI weapon, and by private individuals (non‑POlice or     civilians     ) for

       SelfLdefense purposes.


   ・ Pepper spray is not likely to cause death or great bodily i可ury in the mamer in which it

       is commonly used.


   ●       Specifically, the Defense TechnoIogy負First Defchse" MK‑46 crowd controI pepper spray

       is not likely to cause death or great bodily i互ury in血e manner in which it is commonly

       used.


   ・ If血e       First Defense    MK‑46 pepper spray was likely to cause death or great bodily

       lnJury, it would not be used by police agencies for crowd control.


       I reserve the right to amend or supplement this report, and the facts and opinions
∞ntained herein, in the event further infomation comes to my attention.




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